O PS 8    Case 2:14-cr-00036-TOR               ECF No. 103                filed 06/19/14               PageID.391 Page 1 of 2
(5/04)


                                UNITED STATES DISTRICT COURT
                                                                        for
                                              Eastern District of Washington

U.S.A. vs.                    Bertram, Kyle Allen                                        Docket No.             2:14CR00036-JLQ-3

                                  Petition for Action on Conditions of Pretrial Release

        COMES NOW, Melissa Hanson, pretrial services officer, presenting an official report upon the conduct of defendant
Kyle Allen Bertram, who was placed under pretrial release supervision by the Honorable John T. Rodgers sitting in the court
at Spokane, Washington, on the 2nd day of June 2014, under the following conditions:

Special Condition: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment program,
random urinalysis testing shall be conducted through Pretrial Services, and shall not exceed six (6) times per month.
Defendant shall submit to any method of testing required by the Pretrial Service Office for determining whether the Defendant
is using a prohibited substance. Such methods may be used with random frequency and include urine testing, the wearing of
a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing. Defendant shall
refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of prohibited
substance testing. Full mutual releases shall be executed to permit communication between the court, pretrial services, and the
treatment vendor. Treatment shall not interfere with defendant’s court appearances.

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: Mr. Bertram failed to submit to a urinalysis test on or about June 16, 2014.

Violation #2: Mr. Bertram failed to submit to a urinalysis test on or about June 17, 2014.

Violation #3: Mr. Bertram consumed a controlled substance, methamphetamine, on or about June 15, 2014.

                             PRAYING THAT THE COURT WILL ORDER A WARRANT

                                                                                           I declare under the penalty of perjury
                                                                                           that the foregoing is true and correct.

                                                                                           Executed on:        June 18, 2014

                                                                               by          s/Melissa Hanson

                                                                                           Melissa Hanson
                                                                                           U.S. Pretrial Services Officer
     Case 2:14-cr-00036-TOR         ECF No. 103   filed 06/19/14   PageID.392 Page 2 of 2
THE COURT ORDERS

[ ]   No Action
[;]   The Issuance of a Warrant
[ ]   The Issuance of a Summons
[ ]   Other
                                                             -RKQ75RGJHUV
                                                             860DJLVWUDWH-XGJH

                                                             -XQH
